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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    ABILENE DIVISION

STACEY HARRISON                                  §
                                                 §
                   Plaintiff,                    §
                                                 §
v.                                               §        CIVIL ACTION NO. 1:20-cv-00038-H
                                                 §
                                                 §                                Jury Demanded
AZTEC WELL SERVICING CO. TRIPLE S                §
TRUCKING, INC., and JASON SANDEL,                §
                                                 §
                 Defendants.                     §



                           PLAINTIFF’S UNOPPOSED MOTION
                          TO DISMISS ACTION WITH PREJUDICE
                                   [Related to D.E. #77]

         All matters in controversy in the above-styled and referenced civil action (the “Action”)

have been fully and finally settled as between Plaintiff STACEY HARRISON (“Plaintiff”) and

Defendants AZTEC WELL SERVICING CO., TRIPLE S TRUCKING, INC.. and JASON

SANDEL (collectively “Defendants”). The settlement has been fully consummated and the

agreement between Plaintiff and Defendant calls for dismissal of this Action with prejudice.

According, Plaintiff requests that the Action be dismissed with prejudice, all parties to bear their

own costs. Defendants, by the signature of their counsel below, do not oppose this request.

                                  [INTENTIONALLY BLANK]




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Dated: February 21, 2022.                  Respectfully submitted and agreed,

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